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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                         )
IN RE PHARMACEUTICAL INDUSTRY                            )   MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION                       )   Civil Action No. 01-12257-PBS
                                                         )   Subcategory No.: 03-10643-PBS
                                                         )
THIS DOCUMENT RELATES TO:                                )
                                                         )   Judge Patti B. Saris
The City of New York, et al. v. Abbott Laboratories,     )
Inc., et al.                                             )



[PROPOSED] ORDER OF DISMISSAL OF PLAINTIFFS’ CLAIMS AGAINST BAYER
     CORPORATION AND BAYER PHARMACEUTICALS CORPORATION

       The Motion for Dismissal is hereby GRANTED. All Claims in this action against

Defendant Bayer Corporation and Bayer Pharmaceuticals Corporation are dismissed with

prejudice and without costs to any party.

       IT IS SO ORDERED

Dated: _______________, 2010



                                                       _____________________________
                                                       The Honorable Patti B. Saris
                                                       Judge
